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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                    )
                                              )
                      Plaintiff,              )
                                              )
        v.                                    )    Criminal Action No. 23-61 (MN)
                                              )
 ROBERT HUNTER BIDEN,                         )
                                              )
                      Defendant.              )

                                          ORDER

       At Wilmington, this 12th day of April 2024, for the reasons set forth in the Memorandum

Opinion issued on this date, IT IS HEREBY ORDERED that Defendant’s motion (D.I. 60) to

dismiss the indictment based on immunity conferred by his diversion agreement is DENIED.




                                                  The Honorable Maryellen Noreika
                                                  United States District Judge
